       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 1 of 27


1    BRIAN M. BOYNTON
     Principal Deputy Assistant Attorney General
2
     Civil Division
3
     LESLEY FARBY
4    Assistant Branch Director
     Civil Division, Federal Programs Branch
5

6    LESLIE COOPER VIGEN
     Trial Attorney (DC Bar No. 1019782)
7    Civil Division, Federal Programs Branch
     United States Department of Justice
8
     1100 L Street, NW, Washington, DC 20005
9    Telephone: (202) 305-0727
     Email: leslie.vigen@usdoj.gov
10
     Counsel for United States
11

12                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
13                             SAN FRANCISCO DIVISION
14
     Brayden STARK, Judd
15   OOSTYEN, Kevin BLACK, and
     Maryann OWENS, individually                   No. 3:22-cv-03131-JCS
16   and on behalf of all others
     similarly situated,                           UNITED STATES OF AMERICA’S
17
                                                   MEMORANDUM IN SUPPORT
18           Plaintiffs,                           OF THE CONSTITUTIONALTY
                                                   OF THE VIDEO PRIVACY
19                  v.                             PROTECTION ACT
20
     PATREON, INC.,                                Hon. Joseph C. Spero
21
             Defendant.
22

23

24

25

26

27

28
     Brief in Support of Constitutionality                         Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 2 of 27


1
                                  TABLE OF CONTENTS
2     INTRODUCTION .................................................................................................... 1
3     BACKGROUND ....................................................................................................... 2
4
      I.       Legal Background ......................................................................................... 2
5
      II.      Plaintiffs’ Claims ........................................................................................... 5
6
      III.     Procedural History ........................................................................................ 6
7
      ARGUMENT ............................................................................................................ 8
8
      I.       The Overbreadth Doctrine Has Limited Application and Does Not
9
               Apply to Commercial Speech. ....................................................................... 8
10
      II.      The VPPA Regulates Commercial Speech. ................................................ 10
11
      III.     The VPPA Withstands Intermediate Scrutiny. ......................................... 14
12
      IV.      Defendant’s Hypothesized Non-Commercial Applications of the
13             VPPA Do Not Render the Statute Substantially Overbroad. .................... 17
14
      CONCLUSION ....................................................................................................... 21
15

16

17

18

19

20
21

22

23

24

25

26

27

28                                                              i
     Brief in Support of Constitutionality                                                        Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 3 of 27


1
                                           TABLE OF AUTHORITIES
2
     Cases
3
      Amazon.com v. Lay,
4
      758 F. Supp. 2d 1154 (W.D. Wash. 2010) .............................................................. 16
5
      Ariix, LLC v. NutriSearch Corp.,
6     985 F.3d 1107 (9th Cir. 2021) ...........................................................................12, 13

7     Ashwander v. TVA,
      297 U.S. 288 (1936) .................................................................................................. 8
8

9     Barr v. Am. Ass’n of Political Consultants, Inc.,
      140 S. Ct. 2335 (2020) .............................................................................................. 9
10
      Bartnicki v. Vopper,
11    532 U.S. 514 (2001) .................................................................................................. 9
12    Bd. of Trustees of State Univ. of N.Y. v. Fox,
13    492 U.S. 469 (1989) ...........................................................................................10, 16

14    Boelter v. Advance Magazine Publishers Inc. (Advance Magazine),
      210 F. Supp. 3d 579 (S.D.N.Y. 2016) ............................................................ ..passim
15
      Boelter v. Hearst Commc’ns, Inc. (Hearst I),
16
      192 F. Supp. 3d 427 (S.D.N.Y. 2016) .............................................................. passim
17
      Boelter v. Hearst Commc’ns, Inc. (Hearst II),
18    269 F. Supp. 3d 172 (S.D.N.Y. 2017) .................................................................. 4, 5

19    Bolger v. Youngs Drugs Prod. Corp.,
      463 U.S. 60 (1983) .................................................................................................. 12
20
21    Broadrick v. Oklahoma,
      413 U.S. 601 (1973) .................................................................................................. 9
22
      Burson v. Freeman,
23    504 U.S. 191 (1992) ................................................................................................ 17
24    Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y.,
25    447 U.S. 557 (1980) ......................................................................................... passim

26    Conn. Bar Ass’n v. United States,
      620 F.3d 81 (2d Cir. 2010) ................................................................................. 4, 13
27

28                                                             ii
     Brief in Support of Constitutionality                                                        Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 4 of 27


1     Czarnionka v. The Epoch Times Ass’n, Inc.,
      2022 WL 17069810 (S.D.N.Y. Nov. 17, 2022) ..................................................11, 15
2

3     Edenfield v. Fane,
      507 U.S. 761 (1993) ................................................................................................ 15
4
      Eichenberger v. ESPN,
5     876 F.3d 979 (9th Cir. 2017) ...................................................................3, 11, 14, 20
6     Ellis v. Cartoon Network,
7     803 F.3d 1251 (11th Cir. 2015) .............................................................................. 17

8     First Resort, Inc v. Hererra,
      860 F.3d 1263 (9th Cir. 2017) ...........................................................................12, 13
9
      Fla. Bar v. Went For It, Inc.,
10    515 U.S. 618 (1995) ................................................................................................ 15
11
      French v. Jones,
12    876 F.3d 1228 (9th Cir. 2017) ................................................................................ 16

13    Holt v. Facebook, Inc.,
      240 F. Supp. 3d 1021 (N.D. Cal. 2017) .................................................................. 16
14
      Hunt v. City of Los Angeles,
15
      638 F.3d 703 (9th Cir. 2011) .................................................................................. 12
16
      IMDb.com Inc. v. Becerra,
17    962 F.3d 1111 (9th Cir. 2020) ...........................................................................13, 14

18    In re Facebook, Inc. Consumer Privacy User Profile Litig.,
      402 F. Supp. 3d 767 (N.D. Cal. 2019) ...............................................................11, 20
19

20    In re Hulu Privacy Litig.,
      86 F. Supp. 3d 1090 (N.D. Cal. 2015) .................................................................... 11
21
      In re Nickelodeon Consumer Privacy Litig.,
22    827 F.3d 262 (3d Cir. 2016) ................................................................................. 2, 3
23    In re Vizio, Inc., Consumer Privacy Litig.,
24    238 F. Supp. 3d 1204 (C.D. Cal. 2017) .................................................................. 15

25    Jordan v. Jewel Food Stores, Inc.,
      743 F.3d 509 (7th Cir. 2014) .................................................................................. 12
26
      L.A. Police Dep’t v. United Reporting Pub. Corp.,
27    528 U.S. 32 (1999) .............................................................................................. 9, 12
28
                                                                  iii
     Brief in Support of Constitutionality                                                       Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 5 of 27


1     Lebakken v. WebMD, LLC,
      2022 WL 16716151 (N.D. Ga. Nov. 4, 2022) ..............................................11, 15, 17
2

3     Marquez-Reyes v. Garland,
      36 F.4th 1195 (9th Cir. 2022) .................................................................................. 9
4
      Members of City Council of L.A. v. Taxpayers for Vincent,
5     466 U.S. 789 (1984) .................................................................................................. 9
6     Mollett v. Netflix, Inc.,
7     795 F.3d 1062 (9th Cir. 2015) .................................................................................. 2

8     New York v. Ferber,
      458 U.S. 747 (1982) .................................................................................................. 9
9
      Retail Digital Network, LLC v. Prieto,
10    861 F.3d 839 (9th Cir. 2017) .................................................................................. 14
11
      Rubin v. Coors Brewing Co.,
12    514 U.S. 476 (1995) ................................................................................................ 15

13    Sabri v. United States,
      541 U.S. 600 (2004) .................................................................................................. 8
14
      Trans Union Corp. v. FTC,
15
      245 F.3d 809 (D.C. Cir. 2001) ................................................................................ 15
16
      United Reporting Publ’g Corp. v. Cal. Highway Patrol,
17    146 F.3d 1133 (9th Cir. 1998) ...........................................................................12, 13

18    United States v. Sineneng-Smith,
      140 S. Ct. 1575 (2020) .............................................................................................. 9
19

20    United States v. Williams,
      553 U.S. 285 (2008) .........................................................................................5, 9, 10
21
      Va. State Bd. of Pharm. v. Va. Citizens Consumer Council, Inc.,
22    425 U.S. 748 (1976) ................................................................................................ 12
23    Van Patten v. Vertical Fitness Grp.,
24    847 F.3d 1037 (9th Cir. 2017) ................................................................................ 20

25    Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,
      455 U.S. 489 (1982) ................................................................................................ 10
26
      Wash. State Grange v. Wash. State Republican Party,
27    552 U.S. 442 (2008) .............................................................................................. 8, 9
28
                                                                   iv
     Brief in Support of Constitutionality                                                        Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 6 of 27


1     Williams-Yulee v. Fla. Bar,
      575 U.S. 443 (2015) ................................................................................................ 16
2

3     Yershov v. Gannett Satellite Info. Network, Inc.,
      820 F.3d 482 (1st Cir. 2016) .................................................................................. 15
4
      Statutes
5
      18 U.S.C. § 2710 .............................................................................................. passim
6
      Mich. Comp. Laws Ann. §§ 445.1711–15 ................................................................ 4
7

8     Federal Rules

9     Federal Rule of Civil Procedure 5.1 ........................................................................ 6

10    Federal Rule of Civil Procedure 12(b)(6) ................................................................. 6

11    Other Authorities

12    S. Rep. 100-599 (1988), reprinted in 1988 U.S.C.C.A.N. 4342–1 .......................... 2

13    Am. Library Ass’n., State Privacy Laws Regarding Library Records,
      https://perma.cc/YXA6-6LB6 ................................................................................17
14

15    Nat’l Conf. of State Legislatures, State Laws Related to Digital Privacy,
      https://perma.cc/XS76-4DNT ................................................................................ 17
16

17

18

19

20
21

22

23

24

25

26

27

28
                                                                   v
     Brief in Support of Constitutionality                                                       Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 7 of 27


1
                                             INTRODUCTION
2
              Since 1988, the Video Privacy Protection Act (VPPA) has prohibited a “video
3
     service provider” from knowingly disclosing “personally identifiable information”
4
     that demonstrates which video materials a consumer has requested or obtained—
5
     except in certain limited circumstances, such as disclosure to the consumer herself;
6
     to law enforcement in response to a warrant, subpoena, or court order; or with prior
7
     knowing, written consent in a separate form.        18 U.S.C. § 2710(b).    Congress
8
     enacted the law to protect personal privacy with respect to consumers’ video
9
     viewing habits and advance important values like the right to intellectual freedom.
10
     The constitutionality of the statute has not been challenged in the nearly 35 years
11
     since its passage, and the only two federal courts to have considered First
12
     Amendment challenges to analogous state statutes have rejected those challenges.
13
     There is no basis for this Court to become the first (and only) court to find the VPPA
14
     unconstitutional.
15
              Defendant asserts that the VPPA is facially overbroad because certain of
16
     its hypothetical applications could violate the First Amendment. In doing so, it
17
     has chosen a difficult path. The Supreme Court has repeatedly indicated that
18
     facial challenges are disfavored, and it has been particularly careful to rule
19
     narrowly in cases that address the intersection of privacy and the First
20
     Amendment. The VPPA is properly characterized as a regulation of commercial
21
     speech to which overbreadth analysis does not typically apply.           The statute
22
     withstands the intermediate scrutiny analysis applicable to regulations of
23
     commercial speech. Although it may be possible to imagine limited scenarios in
24
     which the VPPA could prohibit non-commercial disclosures, any such application
25
     is not substantial in comparison to the statute’s legitimate sweep. And in any
26
     event, courts can consider those issues in a concrete context should they arise in
27
     future cases. The Court should reject Defendant’s facial challenge to the VPPA.
28
                                                   1
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 8 of 27


1
                                             BACKGROUND
2
     I.       Legal Background
3
              Congress enacted the VPPA in 1988 in response to the Washington City
4
     Paper’s publication of then-Supreme-Court-nominee Robert Bork’s video rental
5
     history, obtained without his knowledge or consent. In re Nickelodeon Consumer
6
     Privacy Litig., 827 F.3d 262, 278 (3d Cir. 2016).      “Members of the Judiciary
7
     Committee ‘denounced the disclosure,’” and Congress passed the VPPA soon after.
8
     Mollett v. Netflix, Inc., 795 F.3d 1062, 1065 (9th Cir. 2015) (quoting S. Rep. 100-
9
     599, at 5 (1988), reprinted in 1988 U.S.C.C.A.N. 4342–1). The statute’s stated
10
     purpose was “[t]o preserve personal privacy with respect to the rental, purchase,
11
     or delivery of video tapes or similar audio visual materials.” Id. Among other
12
     things, the Senate Report cited the First Amendment right to intellectual freedom
13
     as one of the bases underlying the legislation. See S. Rep. 100-599, at 4–5.
14
              The statute prohibits a “video tape service provider” from “knowingly”
15
     disclosing “personally identifiable information concerning any consumer of such
16
     provider” to “any person.” 18 U.S.C. § 2710(b)(1). It provides several exceptions to
17
     this broad prohibition, permitting (1) disclosure to the consumer; (2) disclosure the
18
     consumer has authorized via “informed, written consent” provided “in a form
19
     distinct and separate from any form setting forth other legal or financial
20
     obligations”; (3) disclosure to a law enforcement agency pursuant to a warrant,
21
     subpoena, or court order; (4) disclosure that is “solely the names and addresses of
22
     consumers,” provided the consumer had the ability to opt out and the disclosure
23
     does not identify the subject matter of any material (unless the sole purpose is
24
     marketing directly to the consumer); (5) disclosure “incident to the ordinary course
25
     of business of the video tape service provider”1; and (6) disclosure pursuant to a
26

27    1 The VPPA defines “ordinary course of business” to include only “debt collection

28   activities, order fulfillment, request processing, and the transfer of ownership.” 18
     U.S.C. § 2710(a)(2).
                                                  2
     Brief in Support of Constitutionality                            Case No. 3:22-cv-03131-JCS
       Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 9 of 27


1
     court order in a civil proceeding. Id. § 2710(b)(2). The statute creates a private
2
     right of action for any aggrieved person to bring a civil suit against any person who
3
     violates its terms. Id. § 2710(c). Upon a finding of liability, a court may award
4
     actual damages, but “not less than” $2,500 in liquidated damages; punitive
5
     damages; attorneys’ fees and costs; and other appropriate equitable relief. Id.
6
     § 2701(c)(2)(A). The VPPA does not contemplate civil or criminal enforcement by
7
     the government.
8
              The statute defines several key terms. As relevant here, a “video tape
9
     service provider” is “any person, engaged in the business . . . of rental, sale, or
10
     delivery of prerecorded video cassette tapes or similar audio visual materials.” Id.
11
     § 2710(a)(4).     “Personally identifiable information” means “information which
12
     identifies a person as having requested or obtained specific video materials or
13
     services from a video tape service provider.”2 Id. § 2710(a)(3). A “consumer” is
14
     defined as “any renter, purchaser, or subscriber of goods or services from a video
15
     tape service provider.” Id. § 2710(a)(3).
16
              The VPPA has not previously been subject to First Amendment challenge.
17
     An analogous state statute, however, has survived such challenges: two different
18
     judges in the Southern District of New York determined that a Michigan statute’s
19
     restrictions on disclosure did not violate the First Amendment. See Boelter v.
20
     Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 435 (S.D.N.Y. 2016) (Hearst I); Boelter
21
     v. Advance Magazine Publishers Inc., 210 F. Supp. 3d 579, 585–86 (S.D.N.Y. 2016)
22

23

24    2 The Ninth Circuit interprets the term “personally identifiable information” as

     referring to “information that readily permit[s] an ordinary person to identify [a
25
     particular individual as having watched certain videos].” Eichenberger v. ESPN,
26   876 F.3d 979, 985 (9th Cir. 2017) (quoting In re Nickelodeon, 827 F.3d at 290)
     (emphasis and alterations in original). This standard focuses on the “perspective
27   of the disclosing party” and the “information a video service provider discloses,” not
28   “what the recipient of that information decides to do with it.” Id.

                                                 3
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 10 of 27


1
     (Advance Magazine); see also Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172,
2
     196–98 (S.D.N.Y. 2017) (Hearst II). Specifically, a magazine subscriber sued two
3
     publishing companies under the Michigan Video Rental Privacy Act (MVRPA)3—a
4
     statute with prohibitions similar to the VPPA, but which also prohibits disclosure
5
     of written materials and sound recordings consumers acquire—over the publishers’
6
     practice of selling customer information to data miners. The publishers defended
7
     the suits, in part, by arguing that the MVRPA was unconstitutional under the First
8
     Amendment on its face and as applied to them.           Both courts rejected these
9
     arguments.
10
              The court in Hearst I, the first ruling upon a First Amendment challenge to
11
     the MVRPA, determined that the regulated speech—“disclosing the identity of
12
     individuals who purchase [certain] products”—was commercial in nature. 192 F.
13
     Supp. 3d at 445. This was primarily because the information at issue “relays an
14
     individual’s economic decisions, elucidates an individual’s economic preferences,
15
     and facilitates the proposal of new commercial transactions,” and that businesses
16
     “profit from the collection and sale of data.” Id. (quoting Conn. Bar Ass’n v. United
17
     States, 620 F.3d 81, 95 (2d Cir. 2010)) (cleaned up). Applying the test governing
18
     commercial speech, see Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of
19
     N.Y., 447 U.S. 557, 566 (1980), the court next found that the statute was
20
     constitutional as applied to the publisher’s practice of selling information about its
21
     consumers to data miners and other third parties. The court determined that
22
     although the speech at issue was not misleading or unlawful, consumer privacy
23
     was a substantial state interest, Hearst I, 192 F. Supp. 3d at 447–48; that the data
24
     disclosure restrictions in the MVRPA directly advanced this interest, id. at 449;
25

26    3 The statute’s formal title is the “Preservation of Personal Privacy Act.” See Mich.

     Comp. Laws Ann. §§ 445.1711–15. Courts have referred to it by both names.
27   Compare Hearst I, 192 F. Supp. 3d at 435 with Advance Magazine, 210 F. Supp. 3d
28   at 585.

                                                 4
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 11 of 27


1
     and that the statute was sufficiently narrowly tailored because it “limits the
2
     dissemination of precisely the kind of information with which the state is
3
     concerned”—namely, information disclosing individuals’ reading, listening, and
4
     viewing preferences—and “targets those most likely to disseminate it,” id. The
5
     Hearst I court also rejected the contention that the MVRPA was facially overbroad,
6
     observing that facial challenges to statutes that regulate commercial speech are
7
     limited to any non-commercial speech the statute covers and finding that the “vast
8
     majority of [the statute’s] applications” raised “no constitutional problems
9
     whatsoever.” Id. at 451–52 (quoting United States v. Williams, 553 U.S. 285, 302–
10
     03 (2008)). The court in Advance Magazine reached the same conclusions a few
11
     months later.       See Advance Magazine, 210 F. Supp. 3d at 596–603.         And in
12
     Hearst II, the court reaffirmed its Hearst I holding that the MVPRA constituted a
13
     valid restriction on commercial speech that did not offend the First Amendment.
14
     See Hearst II, 269 F. Supp. 3d at 196–98.
15
     II.      Plaintiffs’ Claims
16
              Plaintiffs Brayden Stark, Judd Oostyen, Kevin Black, and Maryann Owens
17
     bring this putative class action for declaratory and injunctive relief and damages
18
     against Defendant Patreon, Inc.—a website that allows consumers to pay
19
     subscription fees to online creators in exchange for exclusive or additional access
20
     to their content.        See The Story of Patreon, https://www.patreon.com/about.
21
     Plaintiffs, who are all Patreon subscribers, allege that Patreon disclosed the titles
22
     of prerecorded videos they viewed on Patreon’s website and a series of numbers
23
     unique to their Facebook profiles, or “Facebook ID[s],” to Meta via a tracking tool
24
     called “Meta Pixel.” Am. Compl. ¶¶ 3–4, 46–50, 53, ECF No. 41. Sharing this
25
     information allegedly benefitted Patreon by “improving its ability to promote its
26
     content and services to its Users, thereby increasing its profits.” Id. ¶ 61; see also
27
     id. ¶¶ 54–55 (“websites use the Pixel in hopes of better targeting their products
28
                                                  5
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 12 of 27


1
     and services on Facebook to interested consumers . . . in order to increase [their]
2
     profits”). And gathering this information allegedly benefitted Meta by providing
3
     Patreon “a greater incentive to advertise through Facebook or other Meta-owned
4
     platforms,” and allowing Meta to “build[] more fulsome profiles of its own users”
5
     and thereby “profit from providing more targeted ads.” Id. ¶ 60. Plaintiffs allege
6
     they were harmed by the disclosure of their video viewing history because they
7
     reasonably expected such information would remain private; because such
8
     information is “valuable data in the digital advertising-related market” that they
9
     could have profited from themselves; and because the disclosure diminished the
10
     value of the Patreon subscriptions that Plaintiffs purchased. Id. ¶¶ 66–70.
11
              Plaintiffs’ proposed class encompasses “[a]ll persons in the United States
12
     who subscribed to Patreon.com, viewed prerecorded video content on Patreon.com,
13
     and used Facebook during the time Meta’s Pixel was active on Patreon.com.” Id.
14
     ¶ 74. They allege violations of the VPPA, violations of California state law, and
15
     unjust enrichment.4
16
     III.     Procedural History
17
              Plaintiffs filed the initial complaint in this matter on May 27, 2022. Compl.
18
     ECF No. 1. On August 5, 2022, Defendant moved to dismiss that complaint under
19
     Federal Rule of Civil Procedure 12(b)(6), raising statutory and constitutional
20
     arguments.       ECF No. 21.            On August 6, 2021, Defendant filed a notice of
21
     constitutional challenge pursuant to Federal Rule of Civil Procedure 5.1,
22
     explaining that its motion to dismiss “draws into question the constitutionality of
23
     the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710,” specifically “whether
24
     the VPPA, on its face and as Plaintiffs seek to apply it, is unconstitutional because
25

26
      4Because they bring claims under California law, Plaintiffs also propose a
27   “California Subclass,” consisting of “[a]ll persons in California who subscribed to
28   Patreon.com, viewed prerecorded video content on Patreon.com, and used Facebook
     during the time Meta’s Pixel was active on Patreon.com.” Compl. ¶ 74.
                                                  6
     Brief in Support of Constitutionality                                Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 13 of 27


1
     it violates the First Amendment to the United States Constitution.” ECF No. 24.
2
     On September 16, 2022, the United States filed an acknowledgement of the
3
     constitutional challenge and a stipulation to extend until November 4, 2022 its
4
     time to determine whether to intervene in this action in defense of the
5
     constitutionality of the VPPA. ECF No. 33. The Court entered the stipulation the
6
     same day. ECF No. 34.
7
              On October 13, 2022, prior to the United States’ deadline to decide whether
8
     to intervene, the Court entered an order partially granting Defendant’s motion to
9
     dismiss with leave to amend. Order at 1, ECF No. 40. The order dismissed
10
     Plaintiffs’ VPPA claim on statutory grounds; it expressly declined to reach the
11
     parties’ constitutional arguments. Id. at 10–11, 14. The Court gave Plaintiffs until
12
     October 27, 2022 to file an amended complaint and maintained the November 4,
13
     2022 deadline for the United States to determine whether to intervene. Id. at 19
14
              Plaintiffs filed their first amended complaint on October 27, 2022,
15
     reasserting their claims under the VPPA. ECF No. 41. The parties stipulated to
16
     extend the United States’ time to determine whether to intervene until seven days
17
     after the filing of any motion to dismiss challenging the constitutionality of the
18
     VPPA. ECF No. 42; see also ECF No. 43 (order entering stipulation). The parties
19
     further stipulated to extend the United States’ deadline until 10 days after the
20
     filing of any motion to dismiss challenging the constitutionality of the VPPA as
21
     part of a stipulation extending Defendant’s time to respond to the amended
22
     complaint. ECF No. 44; see also ECF No. 45 (order entering stipulation).
23
              On November 23, 2022, Defendant filed a motion to dismiss the amended
24
     complaint. Def.’s Mot. to Dismiss, ECF No. 48 (Mot. to Dismiss). That motion
25
     challenges the constitutionality of the VPPA on its face under the First
26
     Amendment. Id. at 3–17. It does not reassert the argument, raised in the initial
27
     motion to dismiss, that the VPPA violates the First Amendment as applied to the
28
                                                 7
     Brief in Support of Constitutionality                           Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 14 of 27


1
     conduct alleged here. See ECF No. 21 at 13–20. It also does not contend that the
2
     amended complaint fails to state a claim under the VPPA.
3
                                             ARGUMENT
4
              The Court should reject Defendant’s argument that the VPPA, on its face,
5
     violates the First Amendment. Facial challenges to statutes are disfavored, and
6
     the overbreadth doctrine upon which Plaintiffs rely is only appropriate where a
7
     statute’s potentially unconstitutional applications far outweigh its legitimate
8
     sweep.     The doctrine does not apply to commercial speech, and thus could
9
     invalidate the VPPA only if its application to non-commercial speech significantly
10
     outweighed its regulation of commercial speech. It does not. The plain language
11
     of the VPPA targets speech that is commercial in nature. The statute has been
12
     applied over the years overwhelmingly to regulate commercial speech (as Plaintiffs
13
     seek to do here). It withstands the intermediate scrutiny analysis that applies to
14
     regulations of commercial speech.          And any hypothetical non-commercial
15
     application of the statute is trivial in comparison to the statute’s legitimate scope.
16
     Defendant’s facial challenge therefore fails.
17
     I.      The Overbreadth Doctrine Has Limited Application and Does Not Apply to
18           Commercial Speech.

19            The Supreme Court has made clear that “[f]acial challenges are disfavored.”

20   Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 450 (2008).

21   There are a number of reasons for this. First, “[c]laims of facial invalidity often

22   rest on speculation” and risk “premature interpretation of statutes on the basis of

23   factually barebones records.” Id. (quoting Sabri v. United States, 541 U.S. 600, 609

24   (2004)). Second, such challenges “run contrary to the fundamental principle of

25   judicial restraint” that courts should avoid deciding a constitutional issue unless

26   necessary, and fashion constitutional rulings narrowly. Id. (citing Ashwander v.

27   TVA, 297 U.S. 288, 346–47 (1936) (Brandeis, J., concurring)).          Third, “facial

28   challenges threaten to short circuit the democratic process by preventing laws
                                                 8
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 15 of 27


1
     embodying the will of the people from being implemented in a manner consistent
2
     with the Constitution.” Id. at 451.
3
              The First Amendment overbreadth doctrine represents “an exception to the
4
     traditional rule that ‘a person to whom a statute may constitutionally be applied
5
     may not challenge that statute on the ground that it may conceivably be applied
6
     unconstitutionally to others in situations not before the Court.’” L.A. Police Dep’t
7
     v. United Reporting Pub. Corp., 528 U.S. 32, 39 (1999) (quoting New York v. Ferber,
8
     458 U.S. 747, 767 (1982)). Pursuant to this doctrine, litigants may challenge a
9
     statute based on “a judicial prediction or assumption that the statute’s very
10
     existence may cause others not before the court to refrain from constitutionally
11
     protected speech.” Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973). And although
12
     both the Supreme Court and the Ninth Circuit have applied this doctrine where
13
     warranted, see Mot. to Dismiss 6, the Supreme Court has cautioned that
14
     “invalidation for [First Amendment] overbreadth is ‘strong medicine’ that is not to
15
     be ‘casually employed.’” United States v. Sineneng-Smith, 140 S. Ct. 1575, 1581
16
     (2020) (quoting Williams, 553 U.S. at 293).         The Supreme Court has been
17
     particularly careful to avoid broad pronouncements in cases involving “clashes
18
     between the First Amendment and privacy rights” in light of the “sensitivity and
19
     significance of the interests presented.” Bartnicki v. Vopper, 532 U.S. 514, 529
20
     (2001) (citation and alteration omitted). In such cases it has instead opted to “rely[]
21
     on limited principles that sweep no more broadly than the appropriate context of
22
     the instant case.” Id.; see also Barr v. Am. Ass’n of Political Consultants, Inc., 140
23
     S. Ct. 2335, 2348–56 (2020) (severing unconstitutional provision rather than
24
     invalidating entire consumer privacy law under the First Amendment).
25
              “A statute is not overbroad just because ‘one can conceive of some
26
     impermissible applications.’” Marquez-Reyes v. Garland, 36 F.4th 1195, 1201 (9th
27
     Cir. 2022) (quoting Members of City Council of L.A. v. Taxpayers for Vincent, 466
28
                                                 9
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 16 of 27


1
     U.S. 789, 800 (1984)). Instead, the statute must be substantially overly broad, “not
2
     only in an absolute sense, but also relative to the statute’s plainly legitimate
3
     sweep.” Williams, 553 U.S. at 292. If a challenged statute does not “reach[] a
4
     substantial amount of constitutionally protected conduct,” “then the overbreadth
5
     challenge must fail.” Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,
6
     455 U.S. 489, 494 (1982).
7
              “[O]verbreadth analysis does not typically apply to commercial speech.” Bd.
8
     of Trustees of State Univ. of N.Y. v. Fox, 492 U.S. 469, 481 (1989); see also, e.g., Vill.
9
     of Hoffman Estates, 455 U.S. at 497 (“the overbreadth doctrine does not apply to
10
     commercial speech”). If a statute targeting commercial speech also applies to non-
11
     commercial speech, however, overbreadth analysis may be used to analyze the
12
     statute’s non-commercial applications. See Fox, 492 U.S. at 481–82.
13
     II.     The VPPA Regulates Commercial Speech.
14            “The first step in overbreadth analysis is to construe the challenged statute;
15   it is impossible to determine whether a statute reaches too far without first
16   knowing what the statute covers.” Williams, 553 U.S. at 293. The next step is to
17   examine whether the statute, properly construed, covers “a substantial amount of
18   protected activity.” Id. at 297. Applying this test to the VPPA makes plain that
19   the statute principally regulates commercial speech, which is not subject to
20   overbreadth analysis.         Accord Hearst I, 192 F. Supp. 3d at 451–52; Advance
21   Magazine, 210 F. Supp. 3d at 602–03.
22            The VPPA prohibits a specific type of speech: disclosures by proprietors
23   revealing certain products that individuals requested or obtained. See 18 U.S.C.
24   § 2710(b). On its face, the statue applies only to disclosure of actual or proposed
25   transactions—whether a person “requested or obtained specific video materials or
26   services,” id. § 2710(a)(3)—by a business—specifically, a “video tape service
27   provider” “engaged in the business . . . of rental, sale, or delivery of prerecorded
28   video cassette tapes or similar audio visual materials,” id. § 2710(a)(4). And it
                                              10
     Brief in Support of Constitutionality                                Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 17 of 27


1
     includes reasonable, limited exceptions to account for the preferences of the
2
     consumer, see id. § 2710(b)(2)(A) & (B); the needs of law enforcement entities or
3
     courts, see id. § 2710(b)(2)(C) & (F); and the practicalities of running a business,
4
     see id. § 2710(b)(2)(D) & (E).          The reach of the statute is thus demonstrably
5
     constrained. Notably, it does not apply to news organizations, advocacy groups, or
6
     other entities whose mission is to publicize information of public import. Nor is it
7
     targeted at information that would typically be a matter of public concern.
8
              In practice, the VPPA’s restrictions have overwhelmingly been applied to
9
     disclosures of private information by businesses for financial gain.         Take the
10
     conduct alleged here. Patreon allegedly disclosed Plaintiffs’ video viewing history
11
     to Meta to more effectively target Patreon’s products and services to consumers.
12
     See Am. Compl. ¶¶ 54–55, 61.                What is more, Meta allegedly benefitted
13
     economically from the disclosure as a result of (1) Patreon’s increased incentive to
14
     advertise through Facebook and other Meta-owned platforms, and (2) the ability
15
     to create more fulsome profiles of Facebook users, which enabled Meta to profit
16
     from more targeted advertising. See id. ¶ 60. The vast majority of cases alleging
17
     violations of the VPPA involve similar scenarios. See, e.g., Eichenberger v. ESPN,
18
     876 F.3d 979, 981 (9th Cir. 2017) (disclosure of video viewing history by producer
19
     of sports-related programming to analytics provider); Czarnionka v. The Epoch
20
     Times Ass’n, Inc., 2022 WL 17069810, at *1 (S.D.N.Y. Nov. 17, 2022) (disclosure of
21
     video viewing history through Facebook Pixel); Lebakken v. WebMD, LLC, 2022
22
     WL 16716151, at *2 (N.D. Ga. Nov. 4, 2022) (disclosure of video viewing history to
23
     Facebook); In re Facebook, Inc. Consumer Privacy User Profile Litig., 402 F. Supp.
24
     3d 767, 798 (N.D. Cal. 2019) (disclosure of video viewing history by social media
25
     company to app developers and others); In re Hulu Privacy Litig., 86 F. Supp. 3d
26
     1090, 1093–94 (N.D. Cal. 2015) (disclosure of video viewing history by provider of
27

28
                                                     11
     Brief in Support of Constitutionality                              Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 18 of 27


1
     on-demand video content to social media company). Defendant has identified no
2
     case alleging a non-commercial disclosure.
3
              The type of speech the VPPA regulates fits comfortably within the
4
     commercial speech doctrine. Although the “core” of commercial speech is that
5
     “which does no more than propose a commercial transaction,” Bolger v. Youngs
6
     Drugs Prod. Corp., 463 U.S. 60, 66 (1983) (quoting Va. State Bd. of Pharm. v. Va.
7
     Citizens Consumer Council, Inc., 425 U.S. 748, 762 (1976)), courts consider this
8
     definition a “starting point,” and utilize “a common-sense distinction between
9
     commercial speech and other varieties of speech,” Ariix, LLC v. NutriSearch Corp.,
10
     985 F.3d 1107, 1115 (9th Cir. 2021) (quoting Jordan v. Jewel Food Stores, Inc., 743
11
     F.3d 509, 516 (7th Cir. 2014)). Courts also look to the three Bolger factors: whether
12
     the speech is an advertisement, whether it “refers to a product,” and whether “the
13
     speaker has an economic motivation.” Hunt v. City of Los Angeles, 638 F.3d 703,
14
     715 (9th Cir. 2011) (citing Bolger, 463 U.S. at 66–67).           These factors are
15
     “guideposts”; they are not “dispositive.” Ariix, 985 F.3d at 1116. Nor does each of
16
     these factors need to be present for speech to be considered commercial. First
17
     Resort, Inc v. Hererra, 860 F.3d 1263, 1272 (9th Cir. 2017). And the Supreme Court
18
     has signaled that “it would regard as commercial speech any ‘expression related
19
     solely to the economic interests of the speaker and its audience.’” United Reporting
20
     Publ’g Corp. v. Cal. Highway Patrol, 146 F.3d 1133, 1137 (9th Cir. 1998) (quoting
21
     Cent. Hudson, 447 U.S. at 561), reversed on other grounds by L.A. Police Dep’t v.
22
     United Reporting Publ’g. Corp., 528 U.S. 32 (1999). Thus, at bottom, commercial-
23
     speech analysis is “fact-driven,” and recognizes “the inherent difficulty of drawing
24
     bright lines” in this context. Ariix, 985 F.3d at 1115 (quoting First Resort, 860 F.3d
25
     at 1272).
26
               Although the speech the VPPA regulates does not necessarily “propose a
27
     commercial transaction,” Bolger, 463 U.S. at 66, the information disclosed is a
28
                                                12
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 19 of 27


1
     proposed or completed commercial transaction, see 18 U.S.C. § 2710(a)(3), and in
2
     the majority of its applications, the disclosure relates “solely to the economic
3
     interests of the speaker and its audience,” United Reporting, 146 F.3d at 1137
4
     (quoting Central Hudson, 447 U.S. at 561). It also “relays an individual’s economic
5
     decisions, elucidates an individual’s economic preferences, and ‘facilitates the
6
     proposal of new commercial transactions.’”     Hearst I, 192 F. Supp. 3d at 445
7
     (quoting Conn. Bar Ass’n, 620 F.3d at 95) (cleaned up); see also Advance Magazine,
8
     210 F. Supp. 3d at 597 (finding disclosures prohibited by the MVRPA were
9
     commercial speech, in part, because they were “intended . . . to initiate commercial
10
     activity”). The majority of the conduct regulated by the VPPA thus constitutes
11
     commercial speech.
12
              Defendant contends that disclosure of a consumer’s video viewing history
13
     does not propose a commercial transaction, and as a result, the VPPA does not
14
     regulate commercial speech. Mot. to Dismiss 8. In so arguing, Defendant relies
15
     heavily upon the Ninth Circuit’s decision in IMDb.com Inc. v. Becerra, 962 F.3d
16
     1111 (9th Cir. 2020). But the Ninth Circuit has made clear that whether speech
17
     proposes a commercial transaction is a mere “starting point” in a commercial-
18
     speech analysis, and that the inquiry requires a more fact- and context-specific
19
     analysis. See, e.g., Ariix, 985 F.3d at 1115; First Resort, 860 F.3d at 1272. As
20
     explained, applying that analysis here demonstrates that the VPPA targets
21
     commercial speech.
22
              IMDb.com is readily distinguishable. There, the Ninth Circuit held that a
23
     statute prohibiting “commercial online entertainment service provider[s]”—a
24
     definition designed to apply specifically to the plaintiff—from publishing
25
     information about performers’ ages on its public website did not target commercial
26
     speech. 962 F. 3d at 1119–20. This conclusion turned on the fact that the statute
27
     at issue prohibited the publication of information obtained and submitted by
28
                                               13
     Brief in Support of Constitutionality                           Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 20 of 27


1
     members of the public to IMDb.com’s wiki-style public profiles, which were “free,”
2
     “publicly available,” and contained content that was “encyclopedic, not
3
     transactional.” Id. at 1121–22. Given these circumstances, the Ninth Circuit
4
     found the speech at issue in IMDb.com non-commercial. In contrast, the vast
5
     majority of the disclosures regulated by the VPPA—including those alleged here—
6
     constitute the exchange of economic information between two commercial actors
7
     for financial gain.       See id. at 1124–25 (distinguishing “an inherently private
8
     exchange between private parties” from the posting of information “free of charge
9
     for the public to review”). IMDb.com therefore does not govern, and the VPPA is
10
     properly characterized as a regulation of commercial speech.
11
     III.    The VPPA Withstands Intermediate Scrutiny.
12            Because the majority of the speech the VPPA regulates is commercial in
13   nature, its constitutionality under the First Amendment is analyzed under the
14   Central Hudson standard. That standard examines: (1) whether the expression
15   “concern[s] lawful activity and [is not] misleading”; (2) “whether the asserted
16   governmental interest is substantial”; (3) “whether the regulation directly
17   advances the governmental interest asserted”; and (4) “whether it is not more
18   extensive than is necessary to serve that interest.” Retail Digital Network, LLC v.
19   Prieto, 861 F.3d 839, 844 (9th Cir. 2017) (en banc) (quoting Central Hudson, 447
20   U.S. at 566). The VPPA’s disclosure restrictions survive scrutiny under Central
21   Hudson.
22            Given that the prohibited disclosures are not unlawful or misleading, the
23   initial inquiry is whether the governmental interest underlying the VPPA is
24   “substantial.” Central Hudson, 447 U.S. at 566. Congress passed the statute “[t]o
25   preserve personal privacy with respect to the rental, purchase, or delivery of video
26   tapes or similar audio visual materials.”         S. Rep. 100-599 at 1; see also
27   Eichenberger, 876 F.3d at 983 (explaining that the VPPA “protects privacy
28   interests . . . by ensuring that consumers retain control over their personal
                                            14
     Brief in Support of Constitutionality                            Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 21 of 27


1
     information”). It has long been recognized that “the protection of . . . privacy is a
2
     substantial state interest.” Fla. Bar v. Went For It, Inc., 515 U.S. 618, 625 (1995)
3
     (quoting Edenfield v. Fane, 507 U.S. 761, 769 (1993)). Courts have specifically
4
     acknowledged the government’s substantial interest in protecting the privacy of
5
     consumer information. See Hearst I, 192 F. Supp. 3d at 448; Advance Magazine,
6
     210 F. Supp. 3d at 599; see also Trans Union Corp. v. FTC, 245 F.3d 809, 818 (D.C.
7
     Cir. 2001) (finding that the government’s “interest [in] protecting the privacy of
8
     consumer credit information . . . is substantial”). Defendant does not dispute that
9
     the protection of consumer privacy is a substantial governmental interest. See Mot.
10
     to Dismiss 15.
11
              The next question is whether the VPPA “directly advances” the
12
     government’s interest in protecting the privacy of individuals’ video viewing
13
     choices. Central Hudson, 447 U.S. at 566. This prong requires the government to
14
     “demonstrate that the harms it recites are real and that its restriction will in fact
15
     alleviate them to a material degree.” Rubin v. Coors Brewing Co., 514 U.S. 476,
16
     487 (1995) (quoting Edenfield, 507 U.S. at 770–71). On its face, the VPPA applies
17
     to individuals who sell, rent, or deliver video recordings—the only individuals,
18
     other than the consumer, likely to have access to the information the statute seeks
19
     to keep private. Accord Hearst I, 192 F. Supp. 3d at 449. Restricting the ability of
20
     these individuals who possess a consumer’s video purchase, rental, or request
21
     history to disclose such information directly advances the goal of keeping that
22
     information private. Id. The lawsuits that have credibly alleged VPPA violations
23
     over the years demonstrate that the disclosures the statute seeks to prevent are a
24
     legitimate concern. See, e.g., Yershov v. Gannett Satellite Info. Network, Inc., 820
25
     F.3d 482 (1st Cir. 2016) (plaintiffs adequately stated claim under the VPPA);
26
     Czarnionka, 2022 WL 17069810, at *2–4 (same); Lebakken, 2022 WL 16716151, at
27
     *2–5 (same); In re Vizio, Inc., Consumer Privacy Litig., 238 F. Supp. 3d 1204, 1221–
28
                                                15
     Brief in Support of Constitutionality                            Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 22 of 27


1
     26 (C.D. Cal. 2017) (same); see also Amazon.com v. Lay, 758 F. Supp. 2d 1154,
2
     1170–71 (W.D. Wash. 2010) (issuing declaratory judgment that a requested
3
     disclosure would violate the VPPA).
4
              The final inquiry under Central Hudson is whether the challenged statute
5
     is sufficiently narrowly drawn. This requires a fit between the governmental
6
     interest and the statute’s prohibitions that is “not necessarily perfect,” but rather
7
     “reasonable.” Fox, 492 U.S. at 480. Such a fit exists here. As explained, the
8
     VPPA’s disclosure prohibitions are targeted at the commercial entities most likely
9
     to have, and thus, be in a position to make public, information Congress intended
10
     to protect. See 18 U.S.C. § 2710(a)(4). What is more, the statute includes limited
11
     exemptions that allow consumers to make choices about their own information,
12
     and permit regulated entities to conduct business and comply with law
13
     enforcement and judicial directives as necessary. See id. § 2710(b)(2).
14
              In addition to arguing that the VPPA is overbroad, Defendant argues that
15
     the statute is not sufficiently narrowly drawn because it is regulates too little
16
     speech, insofar as it does not cover entities that provide video content free of charge
17
     or disclosure of consumers’ consumption of other types of media.5             Mot. to
18
     Dismiss 15–17. This contention lacks merit. It is well settled that the government
19
     “need not address all aspects of a problem in one fell swoop” and is permitted to
20
     focus regulation on certain types of information, and on the entities most likely to
21
     possess the information it seeks to protect. See Williams-Yulee v. Fla. Bar, 575
22
     U.S. 443, 449 (2015); see also, e.g., French v. Jones, 876 F.3d 1228, 1238–39 (9th
23
     Cir. 2017); Holt v. Facebook, Inc., 240 F. Supp. 3d 1021, 1035 (N.D. Cal. 2017). And
24
     in any event, some courts have found that the VPPA covers businesses that provide
25

26   5  Defendant contends that the statute’s purported underinclusiveness
     demonstrates that it is not narrowly tailored to fit a compelling governmental
27   interest. Mot. to Dismiss 15–17. As explained, because the VPPA regulates
28   commercial speech, it is subject only to the less-demanding Central Hudson
     inquiry.
                                             16
     Brief in Support of Constitutionality                             Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 23 of 27


1
     video content free of charge in order to generate revenue through advertising,
2
     provided that the individual whose video content was disclosed is a “subscriber”
3
     under 18 U.S.C. § 2710(a)(1). See Lebakken, 2022 WL 16716151, at *2; see also
4
     Ellis v. Cartoon Network, 803 F.3d 1251, 1256 (11th Cir. 2015) (“Payment . . . is
5
     only one factor a court should consider when determining whether an individual is
6
     a ‘subscriber’ under the VPPA.”).
7
              Moreover, states have enacted regulations that cover many of the situations
8
     to which Defendant points, and Congress is not required to pass laws redundant
9
     with existing regulation. Cf. Burson v. Freeman, 504 U.S. 191, 207 (1992) (“The
10
     First Amendment does not require States to regulate for problems that do not
11
     exist.”). For example, all but two states and the District of Columbia have laws
12
     protecting the confidentiality of library records. See Advance Magazine, 210 F.
13
     Supp. 3d at 599 (citing the American Library Association). In each of the two states
14
     that do not have such laws, the state attorney general has issued an opinion
15
     protecting the privacy of library users. See Am. Library Ass’n, State Privacy Laws
16
     Regarding Library Records, https://perma.cc/YXA6-6LB6 (collecting state laws and
17
     attorney general opinions). States have also enacted a variety of laws to protect
18
     digital privacy. See Nat’l Conf. of State Legislatures, State Laws Related to Digital
19
     Privacy, https://perma.cc/XS76-4DNT (collecting state laws).       For all of these
20
     reasons, the VPPA is not fatally underinclusive. Accord Advance Magazine, 210 F.
21
     Supp. 3d at 601.
22   IV.   Defendant’s Hypothesized Non-Commercial Applications of the VPPA Do
           Not Render the Statute Substantially Overbroad.
23
              The few hypothetical situations in which the VPPA could apply to non-
24
     commercial speech do not substantially outweigh its legitimate application to
25
     commercial speech. Defendant concocts a number of scenarios in which it asserts
26
     that the VPPA would impermissibly restrict protected speech.            See Mot. to
27
     Dismiss 10–15. But these situations are improbable and infrequent in relation to
28
                                                17
     Brief in Support of Constitutionality                            Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 24 of 27


1
     the statute’s application to commercial speech.       They have occurred either
2
     extremely rarely, or not at all, in the nearly 35 years since the statute’s passage.
3
     Even if the statute could apply in such a scenario, such occurrence would be
4
     infrequent, and a court could address it in the regular course, with the benefit of
5
     concrete facts.
6
              Defendant first argues that the VPPA could prohibit disclosure of
7
     information of significance to the public, such as a public official’s video rental
8
     history demonstrating that he or she has taken hypocritical positions on important
9
     issues. Mot. to Dismiss 10–11. Although Defendant is hypothetically correct that
10
     such disclosure could constitute a form of non-commercial speech prohibited by the
11
     VPPA, the unlikely scenario that a commercial provider of video products would
12
     both be in a position to, and take action to, publicly disseminate such information
13
     is not substantial as compared to the statute’s legitimate applications. Accord
14
     Hearst I, 192 F. Supp. 3d at 452; Advance Magazine, 210 F. Supp. 3d at 602.
15
     Nothing similar has occurred since the statute’s passage, to the government’s
16
     knowledge. In addition, the VPPA does not impose liability on any entity other
17
     than a “video tape service provider” for revealing such information—including any
18
     news organization—which further limits the concern that the statute could prevent
19
     the airing of matters of public concern.
20
              Defendant next posits that the VPPA could prevent a video tape service
21
     provider from voluntarily notifying law enforcement authorities that an individual
22
     accessed illegal content. Mot. to Dismiss 11. This scenario is even less likely to
23
     occur. Logically, a proprietor would be aware that an individual requested or
24
     obtained illegal and dangerous content only if it provided those materials. Such
25
     disclosure would thus require a video tape service provider to expose itself to
26
     criminal liability by admitting it is in the business of selling unlawful content.
27
     Instead of accounting for this highly improbable situation, the statute
28
                                                18
     Brief in Support of Constitutionality                           Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 25 of 27


1
     appropriately addresses the potential need for law enforcement to access an
2
     individual’s video viewing history by permitting disclosure pursuant to a warrant,
3
     subpoena, or court order. 18 U.S.C. § 2710(b)(2)(C).
4
              It is also unlikely that the VPPA might prevent a significant number of
5
     “video store clerk[s]” from informing one customer that a different customer—
6
     perhaps the first customer’s “minister,” “spouse,” or “babysitter”—had obtained
7
     certain materials that, although legal, the clerk presumably believes customer
8
     number one might find objectionable. Mot. to Dismiss 11–12. Even assuming
9
     enough brick-and-mortar video rental stores remained to make this a widespread
10
     concern—which they likely do not—this scenario would require a large number of
11
     video store clerks to have extensive knowledge of their customers’ personal
12
     relationships, pay enough attention to their customers’ rentals to note videos they
13
     found objectionable, and to have the proper combination of nosiness, moral
14
     certitude, and disregard for others’ privacy to disclose this information. Merely
15
     describing the situation demonstrates its unlikelihood.
16
              Nor does the VPPA prevent businesses from making disclosures that
17
     consumers are aware of and agree to. See 18 U.S.C. § 2710(b)(2)(B). Assuming a
18
     driving school or a provider of continuing education is a “video tape service
19
     provider” and a student taking an online class is a “consumer” under the VPPA—
20
     which is not necessarily the case—the school could disclose the student’s video
21
     viewing history as long as it received prior, written consent in a separate form.
22
     Contra Mot. to Dismiss 12. Students would presumably consent to a school sharing
23
     their video viewing history where doing so was required to certify that the student
24
     completed a mandatory course.
25
              Defendant’s remaining arguments do not concern scenarios in which it
26
     claims the VPPA would apply to non-commercial, protected speech, but instead
27
     raise general complaints about the statute. These are easily addressed. First,
28
                                               19
     Brief in Support of Constitutionality                          Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 26 of 27


1
     Defendant cites no case law suggesting that a requirement of separate, written
2
     consent necessarily violates the First Amendment.          Whether an individual
3
     consented to waive her privacy rights is a key inquiry in cases alleging violations
4
     of privacy statutes. See, e.g., Van Patten v. Vertical Fitness Grp., 847 F.3d 1037,
5
     1044 (9th Cir. 2017); In re Facebook, 402 F. Supp. 3d at 788–89. It therefore makes
6
     good sense for a privacy statute to set clear expectations, for both businesses and
7
     customers, as to what form valid consent would take. And in any event, it is
8
     unlikely that consumers who believe they consented to a disclosure, albeit in the
9
     wrong form, would bring suit under the VPPA. Second, Defendant’s speculation
10
     that the statute could prohibit disclosure of information that the consumer has
11
     already made publicly available elsewhere, Mot. to Dismiss 13, while
12
     hypothetically possible, would not necessarily concern non-commercial speech, and
13
     therefore does not demonstrate that the statute is substantially overly broad.
14
     Tellingly, none of Defendant’s cited case law involves regulations of commercial
15
     speech. Third, the Ninth Circuit has specifically recognized that a violation of the
16
     VPPA harms the affected consumer’s “substantive right to privacy.” Eichenberger,
17
     876 F.3d at 983–84. Defendant is thus incorrect that the VPPA could only validly
18
     protect information that was “highly offensive.” Mot. to Dismiss 14. In doing so,
19
     Defendant once again attempts to subject a regulation of commercial speech to the
20
     higher standards applied to, for example, regulation of media reporting on issues
21
     of public concern. See id. Fourth, Defendant contends that the VPPA’s imposition
22
     of a minimum of $2,500 in damages renders the statute overly broad because the
23
     consumer could have “no actual damages.” Mot. to Dismiss 14. But Defendant
24
     cites no case law suggesting this would be impermissible. And again, the Ninth
25
     Circuit has specifically recognized that, even in the absence of monetary damages,
26
     a violation of the VPPA harms the affected consumer’s “substantive right to
27
     privacy.” Eichenberger, 876 F.3d at 983–84.
28
                                               20
     Brief in Support of Constitutionality                           Case No. 3:22-cv-03131-JCS
      Case 3:22-cv-03131-JCS Document 49-1 Filed 12/05/22 Page 27 of 27


1
                                             CONCLUSION
2
              For the foregoing reasons, the Court should reject Defendant’s
3
     constitutional challenge.
4

5    Dated: December 5, 2022

6                                            Respectfully submitted,

7
                                             BRIAN M. BOYNTON
8                                            Principal Deputy Assistant Attorney General
9                                            Civil Division

10                                           LESLEY FARBY
                                             Assistant Branch Director
11                                           Civil Division, Federal Programs Branch
12
                                             /s/ Leslie Cooper Vigen
13                                           LESLIE COOPER VIGEN
                                             Trial Attorney (D.C. Bar No. 1019782)
14                                           Civil Division, Federal Programs Branch
15                                           United States Department of Justice
                                             1100 L Street, NW, Washington, D.C. 20005
16                                           Telephone: (202) 305-0727
                                             Email: leslie.vigen@usdoj.gov
17

18                                           Counsel for United States

19

20
21

22

23

24

25

26

27

28
                                                     21
     Brief in Support of Constitutionality                               Case No. 3:22-cv-03131-JCS
